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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

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                              :
AUBREY NOVAK                  :         Civ. No. 3:14CV00153(AWT)
                              :
v.                            :
                              :
YALE UNIVERSITY               :         September 21, 2015
                              :
------------------------------x

          MEMORANDUM OF CONFERENCE AND SCHEDULING ORDER

     Upon referral from Judge Alvin W. Thompson, on September

21, 2015, this Court held an in-person status conference on the

record to address the entry of a scheduling order and plaintiff

Aubrey Novak’s (“plaintiff”) concerns with her attorney, William

S. Palmieri’s, representation to date. In compliance with Judge

Thompson’s referral order, see Doc. #36, plaintiff, Mr.

Palmieri, and counsel for defendant Yale University

(“defendant”), Kevin C. Shea, participated in the conference.

1. Plaintiff’s Concerns with Counsel

     The Court addressed plaintiff’s concerns with Mr.

Palmieri’s representation outside the presence of defense

counsel. After discussions with plaintiff and Mr. Palmieri, in

which the Court advised plaintiff that she may retain Mr.

Palmieri as her attorney, retain new counsel, or proceed pro se,

plaintiff decided to keep Mr. Palmieri as her counsel going

forward. Just prior to the Court adjourning the conference,


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plaintiff stated that she had additional concerns with Mr.

Palmieri’s representation. The Court ordered that plaintiff and

her attorney confer following the adjournment of the conference.

If, following this meeting, plaintiff has decided to terminate

Mr. Palmieri’s representation, then she shall advise him of this

in writing, and Mr. Palmieri shall file a motion to withdraw

forthwith. If Mr. Palmieri moves to withdraw from this matter,

then plaintiff shall have thirty (30) days from the date of

withdrawal to retain new counsel. If plaintiff fails to retain

new counsel within that time frame, she will file a pro se

appearance in accordance with District of Connecticut Local

Civil Rule 83.1(c)(2).

     As set forth on the record, the Court will designate only a

discrete portion of the Court’s ex parte discussions with

plaintiff and Mr. Palmieri under seal. Should either party wish

to obtain a copy of the transcript from the September 21, 2015,

status conference, he or she will alert the Court of such

intentions before placing an order.

2. Discovery and Other Pending Issues

     The Court also addressed outstanding discovery issues,

including defendant’s motion for sanctions. [Doc. #42]. Counsel

for the defendant represented that plaintiff had failed to

respond to its May 2015 written discovery requests, which

responses were due by September 17, 2015, as ordered by Judge

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Thompson. See Doc. #35. The plaintiff and her counsel conceded

that was true. Plaintiff will serve her responses and any

objections to defendant’s written discovery requests, including

responsive documents and a privilege log if applicable, by

October 30, 2015. Defendant will re-issue the notice of

plaintiff’s deposition by December 1, 2015, and plaintiff’s

deposition shall be completed by December 30, 2015. Plaintiff’s

counsel reported that she had not propounded discovery by Judge

Thompson’s September 17, 2015 deadline, but that she intended to

do so. Plaintiff shall propound any written discovery by

September 30, 2015. Defendant will serve its objections and

responses to plaintiff’s written discovery requests, including

responsive documents and a privilege log if applicable, by

October 30, 2015.

    Counsel for plaintiff and defendant indicated that neither

party intends to utilize expert witnesses in this matter, nor

take any fact depositions, other than that of the plaintiff.

    Defense counsel also indicated that plaintiff had failed to

provide Judge Thompson with a report identifying the claims

brought in this action. See Doc. #34. Plaintiff will file on ECF

a report in compliance with Judge Thompson’s August 17, 2015,

Order by the close of business on September 30, 2015.

    The Court takes defendant’s motion for sanctions [Doc. #42]

under advisement. However, the Court did repeatedly warn

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plaintiff and her attorney that failure to respond to

defendant’s discovery requests within the time ordered, may

result in the dismissal of plaintiff’s complaint. See Fed. R.

Civ. P. 37(b)(2)(A)(v).

3. Scheduling Order

     In light of the discussions during the September 21, 2015,

status conference, the Court hereby sets the following pretrial

deadlines:

          September 30, 2015, for plaintiff to file a report in

           compliance with Judge Thompson’s August 17, 2015 Order

           [Doc. #34];

          September 30, 2015, for plaintiff to propound any

           written discovery;

          October 30, 2015, for plaintiff to respond to

           defendant’s May 2015 written discovery requests;

          October 30, 2015, for defendant to respond to

           plaintiff’s written discovery requests;

          October 30, 2015, for plaintiff to provide defendant

           with a written damages analysis;

          December 1, 2015, for defendant to re-issue the notice

           of plaintiff’s deposition;

          December 30, 2015, for the completion of plaintiff’s

           deposition; and


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          March 1, 2016, for the filing of dispositive motions.

    The parties are advised that agreements regarding

particular deadlines will not constitute extensions of those

deadlines, and that the Court will not be bound by any informal

agreements of the parties. The Court expects counsel and the

plaintiff to continue to pursue this matter in a timely fashion.

The Court DOES NOT intend to grant any further extensions of

these deadlines, and in that regard, is hard pressed to envision

a compelling reason which would warrant any such extension.

    The parties are encouraged to contact chambers to schedule

a settlement conference, should it become productive to do so.

    This is not a Recommended Ruling. This is an order

regarding discovery and case management which is reviewable

pursuant to the “clearly erroneous” statutory standard of

review. 28 U.S.C. §636(b)(1)(A); Fed. R. Civ. P. 72(a); and D.

Conn. L. Civ. R. 72.2. As such, it is an order of the Court

unless reversed or modified by the district judge upon motion

timely made.

    SO ORDERED at New Haven, Connecticut this 21st day of

September 2015.


                                     /s/
                                  HON. SARAH A. L. MERRIAM
                                  UNITED STATES MAGISTRATE JUDGE




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